                                                                                                                ____ FILED ___ ENTERED
                       Case 1:20-cr-00267-GLR Document 4 Filed 08/12/20 Page                                  1 ____
                                                                                                                of 1LOGGED _____ RECEIVED
DellaBetta: AO 91 (Rev. 11/11) Criminal Complaint                                                               3:35 pm, Aug 12 2020
                                                                                                                AT BALTIMORE
                                     UNITED STATES DISTRICT COURT                                               CLERK, U.S. DISTRICRT COURT
                                                                                                                DISTRICT OF MARYLAND
                                                                   for the                                      BY ______________Deputy
                                                          DistrictDistrict
                                                     __________    of Maryland
                                                                           of __________

                  United States of America                            )
                             v.                                       )
                                                                      )      Case No.      1:20-mj-2051 TMD
                  RONALD ALEXANDER,
                                                                      )
                                                                      )
                                                                      )
                                                                      )
                           Defendant(s)


                                                     CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of           May 1, 2020 to August 10, 2020          in the county of                                     in the
                       District of             Maryland           , the defendant(s) violated:

             Code Section                                                       Offense Description
21 U.S.C. § 846                                     Conspiracy to Distribute Controlled Substances




          This criminal complaint is based on these facts:
See affidavit.




          ✔ Continued on the attached sheet.
          ’


                                                                                                 Complainant’s signature

                                                                                Ryan Kotowski, Drug Enforcement Administration
                                                                                                  Printed name and title

Sworn to before me over the telephone and signed by me pursuant to Fed. R. Crim. P. 4.1 and 4(d).


Date:
                                                                                                    Judge’s signature

City and state:                      Baltimore, Maryland                       Hon. Thomas M. DiGirolamo, U.S. Magistrate Judge
                                                                                                  Printed name and title



        Print                        Save As...                    Attach                                                  Reset
